                Case 23-10831-MFW              Doc 1012        Filed 02/27/24       Page 1 of 13




                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE

                                                            Chapter 11
    In re:
                                                            Case No. 23-10831 (MFW)
    Lordstown Motors Corp., et al., 1
                                                            Objection Deadline: March 18, 2024 at 4:00
                             Debtors.                       p.m. (prevailing Eastern Time)


                  COVER PAGE OF THE FIFTH MONTHLY FEE
              APPLICATION OF BROWN RUDNICK LLP, AS COUNSEL
         FOR THE OFFICIAL COMMITTEE OF EQUITY SECURITY HOLDERS
      OF LORDSTOWN MOTORS CORP., ET AL., FOR ALLOWANCE OF INTERIM
    COMPENSATION AND FOR REIMBURSEMENT OF DISBURSEMENTS INCURRED
          FOR THE PERIOD JANUARY 1, 2024, THROUGH JANUARY 31, 2024

      Name of applicant:                            Brown Rudnick LLP (“Brown Rudnick”)
      Authorized to provide professional            Official Committee of Equity Security Holders
      services to:                                  (the “Equity Committee”)
      Date retention approved:                      Order Entered October 16, 2023 [Dkt. No. 558];
                                                    Nunc Pro Tunc to September 7, 2023
      Period for which compensation and             January 1, 2024 through January 31, 2024
      reimbursement is sought:
      Amount of compensation sought as              $308,508.50 2 (Interim compensation sought for
      actual, reasonable, and necessary:            80% of that amount, or $246,806.80)
      Amount of reimbursement sought as             $802.15
      actual, reasonable, and necessary:
      This is an x interim (monthly)                ____ final application
      application
      This is the Fifth Monthly Fee Application for Compensation and Reimbursement of
      Disbursements.




1
      The Debtors and the last four digits of their respective taxpayer identification numbers are: Lordstown Motors
      Corp. (3239); Lordstown EV Corporation (2250); and Lordstown EV Sales LLC (9101). The Debtors’ service
      address is 27000 Hills Tech Ct., Farmington Hills, MI 48331
2
      Brown Rudnick performed 15.8 hours of services, equating to $12,725.50, which were voluntarily omitted from
      this Application. This deduction pertained to transient timekeepers as well as other voluntary reductions.
                  Case 23-10831-MFW         Doc 1012          Filed 02/27/24   Page 2 of 13




                            SUMMARY OF TIME & COMPENSATION

                              January 1, 2024 through January 31, 2024


                          TIME AND COMPENSATION BREAKDOWN – PARTNERS


   Name of Professional        Position; Admission             Hourly       Total Hours          Total
         Person                  Date; Specialty             Billing Rate                     Compensation

Robert J. Stark              Partner; Admitted to New          $2,250          21.6            $48,600.00
                             Jersey Bar in 1995; New
                             York Bar in 1996;
                             Bankruptcy & Corporate
                             Restructuring

Bennett S. Silverberg        Partner; Admitted to New          $1,800          64.0            $115,200.00
                             York Bar in 2001;
                             Bankruptcy & Corporate
                             Restructuring

Michael S. Winograd          Partner; Admitted to New          $1,800           3.1             $5,580.00
                             York Bar in 2001;
                             Litigation & Arbitration

Eric R. Goodman              Partner; Admitted to Ohio         $1,600           2.4             $3,840.00
                             in 2003; New York in
                             2018; Massachusetts in
                             2021; District of
                             Columbia in 2021;
                             Bankruptcy & Corporate
                             Restructuring

Angela M. Papalaskaris       Partner; Admitted to New          $1,505           2.3             $3,461.50
                             York Bar in 2004
                             White Collar Defense,
                             Investigations &
                             Compliance

Shari I. Dwoskin             Partner; Admitted to              $1,500          42.6            $62,625.00
                             Massachusetts Bar in
                             2014; New York Bar in
                             2023;
                             Bankruptcy &
                             Restructuring

Philip J. Flink              Partner; Admitted to              $1,450           2.5             $3,625.00
                             Massachusetts Bar 1981;
                             Corporate-US

Nicole M. Bouchard           Partner; Admitted to New          $1,400           6.6             $9,240.00
                             York Bar in 2009;
                             Tax

                                                         2
                  Case 23-10831-MFW         Doc 1012         Filed 02/27/24   Page 3 of 13




                          TIME AND COMPENSATION BREAKDOWN – PARTNERS


   Name of Professional        Position; Admission            Hourly       Total Hours          Total
         Person                  Date; Specialty            Billing Rate                     Compensation



John Cushing                 Partner; Admitted to             $1,140          25.1            $28,614.00
                             Massachusetts Bar in
                             1999;
                             Corporate

Daniel J. Healy              Partner; Admitted to New         $1,065           .8              $852.00
                             York Bar in 1999;
                             Massachusetts Bar in
                             1999; District of
                             Columbia Bar in 2002;
                             Maryland Bar in 2005;
                             Litigation

Jonathan T. Fitzsimons       Partner; Admitted to New         $1,035           1.5             $1,552.50
                             York Bar in 2016;
                             Corporate

TOTAL                                                                         172.5           $283,190.00

PARTNER                                                      $1,641.68
BLENDED RATE




                                                        3
                   Case 23-10831-MFW        Doc 1012         Filed 02/27/24     Page 4 of 13




           TIME AND COMPENSATION BREAKDOWN – ASSOCIATES AND OTHER COUNSEL


Name of Professional Person      Position; Admission Date;         Hourly Billing   Total         Total
                                          Specialty                    Rate         Hours      Compensation
Tiffany B. Lietz              Associate; Admitted to New York          $975          5.9         $5,752.50
                              Bar in 2018;
                              White Collar Defense,
                              Investigations & Compliance
Matthew A. Sawyer             Associate; Admitted to                   $950          7.1         $6,745.00
                              Massachusetts Bar in 2019;
                              Bankruptcy & Corporate
                              Restructuring
Joel T. Todd                  Associate; Admitted to District of       $890          6.1         $5,429.00
                              Columbia Bar in 2020; Maryland
                              Bar in 2021; Florida Bar in 2021;
                              Corporate
TOTAL                                                                               19.1        $17,926.50

ASSOCIATE & OTHER                                                     $938.56
COUNSEL BLENDED
RATE




                                                       4
              Case 23-10831-MFW         Doc 1012       Filed 02/27/24    Page 5 of 13




                TIME AND COMPENSATION BREAKDOWN - PARAPROFESSIONALS


  Name of Professional   Position/Numbers of     Hourly Billing    Total Hours         Total
        Person                  Years                Rate                           Compensation

Madelyn A. Soliman       Paralegal;                    $480              15.4            $7,392.00
                         Bankruptcy &
                         Corporate
                         Restructuring; over 3
                         years

TOTAL                                                                    15.4            $7,392.00

PARAPROFESSIONALS                                    $480.00
BLENDED RATE

GRAND TOTAL                                                             207.00          $308,508.50

BLENDED RATE FOR                                     $1,490.38
ALL BROWN RUDNICK
TIMEKEEPERS




                                                 5
                 Case 23-10831-MFW             Doc 1012        Filed 02/27/24       Page 6 of 13




                         IN THE UNITED STATES BANKRUPTCY COURT
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                                                            Chapter 11
    In re:
                                                            Case No. 23-10831 (MFW)
    Lordstown Motors Corp., et al., 1
                                                            Objection Deadline: March 18, 2024 at 4:00
                             Debtors.                       p.m. (prevailing Eastern Time)



         FIFTH MONTHLY FEE APPLICATION OF BROWN RUDNICK LLP, AS
    COUNSEL FOR THE OFFICIAL COMMITTEE OF EQUITY SECURITY HOLDERS
      OF LORDSTOWN MOTORS CORP., ET AL., FOR ALLOWANCE OF INTERIM
    COMPENSATION AND FOR REIMBURSEMENT OF DISBURSEMENTS INCURRED
          FOR THE PERIOD JANUARY 1, 2024, THROUGH JANUARY 31, 2024

             Brown Rudnick LLP (“Brown Rudnick”), as counsel to the Official Committee of Equity

Security Holders (the “Equity Committee”) of Lordstown Motors Corp. and its affiliated debtors

and debtors-in-possession (collectively, the “Debtors”), hereby submits this Fifth Monthly Fee

Application for Allowance of Interim Compensation and Reimbursement of Disbursements (the

“Application”) seeking payment of (i) $246,806.80, representing eighty percent (80%) of Brown

Rudnick’s fees of $308,508.50, and (ii) reimbursement of one hundred percent (100%) of Brown

Rudnick’s disbursements in the amount of $802.15, for the period of January 1, 2024 through

January 31, 2024 (the “Application Period”), as set forth more particularly herein, pursuant to 11

U.S.C. §§ 328, 330, and 331, Fed. R. Bankr. P. 2016, the Local Rules of the United States

Bankruptcy Court for the District of Delaware (the “Local Rules”), the United States Trustee Fee

Guidelines – Guidelines for Reviewing Applications for Compensation and Reimbursement of

Disbursements Filed under 11 U.S.C. § 330 (Appendix A to 28 C.F.R. § 58) (the “UST



1
      The Debtors and the last four digits of their respective taxpayer identification numbers are: Lordstown Motors
      Corp. (3239); Lordstown EV Corporation (2250); and Lordstown EV Sales LLC (9101). The Debtors’ service
      address is 27000 Hills Tech Ct., Farmington Hills, MI 48331.
               Case 23-10831-MFW          Doc 1012     Filed 02/27/24     Page 7 of 13




Guidelines”), and the Order Establishing Procedures for Interim Compensation and

Reimbursement of Expenses for Chapter 11 Professionals and Committee Members of this Court

dated July 25, 2023 (the “Interim Compensation Order”) [Dkt. No. 181]. In support of this

Application, Brown Rudnick hereby states as follows.

                                          BACKGROUND

       1.         On June 27, 2023, the Debtors filed voluntary petitions for relief under chapter 11

of the Bankruptcy Code in the United States Bankruptcy Court for the District of Delaware, thereby

commencing these cases (the “Cases”).

       2.         As of the date hereof, the Debtors continue as debtors-in-possession pursuant to

sections 1107(a) and 1108 of the Bankruptcy Code, and no trustee or examiner has been appointed

in these Cases.

       3.         On September 7, 2023, the Office of the United States Trustee (the “U.S. Trustee”

or “UST”) filed the Notice of Appointment of Official Committee of Equity Security Holders [Dkt.

No. 375].

       4.         On September 7, 2023, the Equity Committee selected Brown Rudnick to serve as

its counsel.

       5.         On July 25, 2023, the Court entered the Interim Compensation Order. Pursuant to

the Interim Compensation Order, the Court established a procedure for payment of interim

compensation and reimbursement of disbursements for professionals retained in these Cases. In

particular, the Court authorized the filing and service to certain notice parties of monthly fee

applications by professionals retained in these Cases (including professionals employed by the

Equity Committee) and payment by the Debtor of 80% of fees and 100% of expenses, in the

absence of an objection made within twenty (20) days of service of the pertinent application.



                                                   2
            Case 23-10831-MFW            Doc 1012    Filed 02/27/24    Page 8 of 13




       6.      On September 27, 2023, the Equity Committee filed the Application for Order

Authorizing the Employment and Retention of Brown Rudnick LLP as Counsel for the Official

Committee of Security Equity Holders of Lordstown Motors Corp., et al., Nunc Pro Tunc to

September 7, 2023 (the “Retention Application”) [Dkt No. 477]. On October 16, 2023, the Court

entered an order approving the Retention Application [Dkt. No. 558].

                   PAYMENT AND REIMBURSEMENT REQUESTED

       7.      Brown Rudnick submits this Application for (a) payment of compensation for

actual, reasonable, and necessary professional services performed by it as counsel for the Equity

Committee during the Application Period, and (b) reimbursement of actual, reasonable, and

necessary disbursements incurred in representing the Equity Committee during the Application

Period. This Application is made pursuant to sections 328, 330, and 331 of the Bankruptcy Code,

the Federal Rules of Bankruptcy, the Local Rules, the UST Guidelines, and the Interim

Compensation Order. This is Brown Rudnick’s fourth monthly fee application.

       8.      During the Application Period, Brown Rudnick rendered legal services to the

Equity Committee having a value of $308,508.50 in fees, calculated at Brown Rudnick’s usual and

customary hourly rates as more specifically set forth herein. In addition, Brown Rudnick incurred

disbursements of $802.15 during the Application Period. Thus, the total amount of fees (80% of

the aggregate amount of fees for the Application Period) and disbursements for which Brown

Rudnick seeks approval and payment on an interim basis for the Application Period is

$247,608.95.

       9.      Professional   services    and   disbursements   for   which   compensation   and

reimbursement are sought were provided to and incurred on behalf of the Equity Committee.

Brown Rudnick requests that it be compensated for the time spent and expenses incurred in



                                                 3
              Case 23-10831-MFW           Doc 1012      Filed 02/27/24      Page 9 of 13




connection with this matter. All of the fees and disbursements sought to be paid or reimbursed in

this Application were actual, necessary, and reasonable, and benefited both the Debtors’ estates

and equity holders.

       10.      As set forth in the Retention Application, the Equity Committee retained Brown

Rudnick as its counsel to provide the following professional services:

             a. assisting, advising, and representing the Equity Committee in its meetings,
                consultations, and negotiations with the Debtors and other parties in interest
                regarding the administration of these Cases;

             b. assisting, advising, and representing the Equity Committee in understanding its
                powers and its duties under the Bankruptcy Code and the Bankruptcy Rules and in
                performing other services as are in the interests of those represented by the Equity
                Committee;

             c. assisting with the Equity Committee’s review of the Debtors’ Schedules of Assets
                and Liabilities, Statement of Financial Affairs, and other financial reports prepared
                by or on behalf of the Debtors;

             d. assisting the Equity Committee’s investigation of the acts, conduct, assets,
                liabilities, and financial condition of the Debtors and its affiliates, including certain
                transactions preceding the bankruptcy filing and the formation of the Debtors;

             e. assisting and advising the Equity Committee regarding the identification and
                prosecution of estate claims and causes of action;

             f. assisting and advising the Equity Committee in its review and analysis of, and
                negotiations with the Debtors and any counterparties related to, any potential sale
                or restructuring transactions;

             g. reviewing and analyzing all applications, motions, complaints, orders, and other
                pleadings filed with the Court by the Debtors or third parties, and advising the
                Equity Committee as to their propriety and, after consultation with the Equity
                Committee, taking any appropriate action;

             h. preparing necessary applications, motions, answers, orders, reports, and other legal
                papers on behalf of the Equity Committee, and pursuing or participating in
                contested matters and adversary proceedings as may be necessary or appropriate in
                furtherance of the Equity Committee’s duties, interest, and objectives;

             i. representing the Equity Committee at hearings held before the Court and
                communicating with the Equity Committee regarding the issues raised, and the
                decisions of the Court;


                                                    4
             Case 23-10831-MFW          Doc 1012      Filed 02/27/24     Page 10 of 13




             j. assisting, advising, and representing the Equity Committee in connection with the
                review of filed proofs of claim and reconciliation of or objections to such proofs of
                claim and any claims estimation proceedings;

             k. assisting, advising, and representing the Equity Committee in their participation in
                the negotiation, formulation, and drafting of a plan of reorganization/liquidation;

             l. assisting, advising, and representing the Equity Committee with respect to its
                communications with the general shareholder body regarding significant matters in
                these Cases;

             m. responding to inquiries from individual shareholders as to the status of, and
                developments in, these Cases; and

             n. providing such other services to the Equity Committee as may be necessary in these
                Cases or any related proceedings.

                 REASONABLE AND NECESSARY SERVICES RENDERED

       11.      The services rendered by Brown Rudnick during these Cases can be grouped into the

categories set forth below. Brown Rudnick attempted to place the services provided in the category

that best relates to such services. However, because certain services may relate to one or more

categories, services pertaining to one category may in fact be included in another category. The

following provides a narrative description of project categories to which attorneys and

paraprofessionals of Brown Rudnick dedicated the most significant time (i.e., time charges in excess

of $10,000 in the aggregate) during the Application Period:

       a.       Plan And Disclosure Statement: Fees: $242,850.00; Total Hours: 147.8. These

fees include significant work on the Debtors’ proposed chapter 11 reorganization plan and related

issues. Brown Rudnick and the Debtors continued to negotiate revisions to such plan with, among

other parties, the Securities and Exchange Commission, representatives for the certain class action

plaintiffs, and the Debtors’ current and former insiders to address concerns of these parties with




                                                  5
              Case 23-10831-MFW         Doc 1012      Filed 02/27/24    Page 11 of 13




respect the Plan. The hearing to consider the confirmation of the plan is currently scheduled for

March 5, 2024, at 3:00 pm ET.2

        b.      Meetings of and Communications with Equity Holders: Fees: $23,420.00; Total

Hours: 11.8. These fees include all services rendered by Brown Rudnick relating to meetings with

the Equity Committee. It was and remains necessary that the Equity Committee communicate

frequently with its advisors to discuss case developments and strategic decisions. During the

Application Period, Brown Rudnick and other Equity Committee professionals conducted meetings

with the Equity Committee. In addition, from time to time, Brown Rudnick responded to shareholder

inquiries regarding the status of these Chapter 11 cases.

        c.      Regulatory Issues: Fees: $22,806.50; Total Hours; 21.5. These fees include time

spent drafting and ensuring compliance with certain regulatory disclosures including, among other

things, D&O Questionnaires and SEC filings.

        d.      Employment and Fee Applications: Fees: $12,459.00; Total Hours: 16.8. These

fees include all services rendered by Brown Rudnick relating to the preparation of its Fourth Monthly

Fee Application and First Interim Fee Application.

        12.     Attached hereto as Exhibit A are detailed time entries reflecting the daily work

performed by each Brown Rudnick professional with respect to whom compensation is sought

during the Application Period. Attached hereto as Exhibit B is an itemized description of

disbursements incurred during the Application Period.




2
    See Dkt. No. 997.

                                                  6
             Case 23-10831-MFW         Doc 1012      Filed 02/27/24     Page 12 of 13




       13.     This is Brown Rudnick’s fifth monthly fee statement. A summary of Brown

Rudnick’s Monthly Fee Statements, inclusive of this Application, is reflected in the chart below.

    Application Period      Total Fees      80% of          20%           100%         Total Paid or
                                             Fees         Holdback       Expenses     To Be Paid for
                                                                                      Compensation
                                                                                          Period
  9/7/23 to 9/30/23         $450,112.00   $360,089.60   $90,022.40      $2,274.38     $362,363.98
  10/1/23 to 10/31/23       $590,162.50   $472,130.00   $118,032.50     $1,664.93     $473,794.93
  11/1/2023 to 11/30/2023   $502,870.50   $402,296.40   $100,574.10     $6,134.04     $408,430.44
  12/1/2023 to 12/31/2023   $364,927.00   $291,941.60   $72,985.40      $5,785.44     $297,727.04
  1/1/2024 to 1/31/2024     $308,508.50   $246,806.80   $61,701.70      $802.15       $247,608.95

       14.     In accordance with Bankruptcy Code section 504 and Fed. R. Bankr. P. 2016(a), no

agreement or understanding exists between Brown Rudnick and any other person for the sharing

of compensation received or to be received for services rendered in or in connection with this Case.

       15.     No agreement or understanding prohibited by 18 U.S.C. § 155 has been or will be

made by Brown Rudnick.

       16.     The undersigned has reviewed the requirements of Local Rule 2016-2 and certifies

that this Application complies with that Local Rule.

       17.     To the extent time or disbursement charges for services rendered or expenses

incurred relate to the Application Period, but were not processed prior to the preparation of this

application, or Brown Rudnick has for any other reason not yet sought compensation or

reimbursement of expenses herein with respect to any services rendered or expenses incurred

during the Application Period, Brown Rudnick reserves the right to request compensation for such

services and reimbursement of such expenses in a future application.




                                                 7
            Case 23-10831-MFW         Doc 1012      Filed 02/27/24   Page 13 of 13




       WHEREFORE, Brown Rudnick requests immediate payment and reimbursement by the

Debtor of the following amounts in connection with its representation of the Equity Committee

for the Application Period, comprised of:

       a.     interim compensation of $246,806.80 (which is 80% of the aggregate amount of
              Brown Rudnick’s fees totaling $308,508.50 for the Application Period); and

       b.     $802.15 in disbursements.

Dated: February 27, 2024

                                            By: /s/ Robert J. Stark
                                            BROWN RUDNICK LLP
                                            Robert J. Stark, Esq. (pro hac vice)
                                            Bennett S. Silverberg, Esq. (pro hac vice)
                                            Seven Times Square
                                            New York, NY 10036
                                            Telephone: (212) 209-4800
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                                            -and-

                                            Matthew A. Sawyer (pro hac vice)
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                                            Boston, MA 02111
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                                            Counsel to the Official Committee of Equity
                                            Security Holders of Lordstown Motors Corp., et al.




                                               8
